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                                Nebraska Court of A ppeals A dvance Sheets
                                     25 Nebraska A ppellate R eports
                                                 STATE v. CHELOHA
                                                Cite as 25 Neb. App. 403



                                        State of Nebraska, appellee, v.
                                         Jacob T. Cheloha, appellant.
                                                    ___ N.W.2d ___

                                         Filed January 9, 2018.    No. A-16-925.

                1.	 Trial: Juries: Evidence. The trial judge has discretion to allow the jury
                     to reexamine evidence during deliberations.
                 2.	 ____: ____: ____. Trial courts have broad discretion in allowing the jury
                     to have unlimited access to properly received exhibits that constitute
                     substantive evidence of the defendant’s guilt.
                3.	 Trial: Juries: Evidence: Appeal and Error. A trial court’s decision to
                     allow a jury during deliberations to rehear or review evidence, whether
                     such evidence is testimonial or nontestimonial, is reviewed by an appel-
                     late court for an abuse of discretion.
                4.	 Trial: Evidence. Testimonial evidence refers to trial evidence, including
                     live oral examinations, affidavits and depositions in lieu of live testi-
                     mony, and tapes of examinations conducted prior to the time of trial for
                     use at trial in accordance with procedures provided by law.
                 5.	 ____: ____. Heightened standards which require the trial court to weigh
                     the probative value of the testimony against the danger of undue empha-
                     sis and allow the court to strictly control the procedures for reviewing
                     tape-recorded evidence apply only to testimonial evidence. 
                6.	 Pretrial Procedure: Trial: Evidence: Appeal and Error. Where there
                     has been a pretrial ruling regarding the admissibility of evidence, a party
                     must make a timely and specific objection to the evidence when it is
                     offered at trial in order to preserve any error for appellate review.
                7.	 Trial: Evidence: Motions to Suppress: Waiver: Appeal and Error.
                     The failure to object to evidence at trial, even though the evidence was
                     the subject of a previous motion to suppress, waives the objection, and
                     a party will not be heard to complain of the alleged error on appeal.
                8.	 Appeal and Error. An objection, based on a specific ground and prop-
                     erly overruled, does not preserve a question for appellate review on
                     some other ground not specified at trial.
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                             STATE v. CHELOHA
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 9.	 Rules of Evidence: Hearsay: Appeal and Error. Apart from rulings
     under the residual hearsay exception, an appellate court will review for
     clear error the factual findings underpinning a trial court’s hearsay rul-
     ing and review de novo the court’s ultimate determination whether the
     court admitted evidence over a hearsay objection or excluded evidence
     on hearsay grounds.
10.	 Rules of Evidence: Hearsay. Whether a statement was both taken and
     given in contemplation of medical diagnosis or treatment is a factual
     finding made by the trial court in determining the admissibility of
     the evidence under Neb. Evid. R. 803(3), Neb. Rev. Stat. § 27-803(3)
     (Reissue 2016).
11.	 ____: ____. Hearsay is a statement, other than one made by the declar-
     ant while testifying at the trial or hearing, offered to prove the truth of
     the matter asserted.
12.	 ____: ____. A declarant’s out-of-court statement offered for the truth of
     the matter asserted is inadmissible unless it falls within a definitional
     exclusion or statutory exception.
13.	 ____: ____. The hearsay rule does not exclude statements made for
     purposes of medical diagnosis or treatment and describing medical his-
     tory, or past or present symptoms, pain, or sensations, or the inception
     or general character of the cause or external source thereof insofar as
     reasonably pertinent to diagnosis or treatment.
14.	 ____: ____. The hearsay exception for statements made for the purpose
     of medical diagnosis or treatment is based on the notion that a person
     seeking medical attention will give a truthful account of the history and
     current status of his or her condition in order to ensure proper treatment.
15.	 Rules of Evidence: Hearsay: Police Officers and Sheriffs. A state-
     ment is generally considered admissible under the medical purpose hear-
     say exception if gathered for dual medical and investigatory purposes,
     and even the declarant’s knowledge that law enforcement is observing
     or listening to the statements does not necessarily preclude admissibility
     of a statement as being for a medical purpose.
16.	 Rules of Evidence: Hearsay. In applying the hearsay exception for
     statements made for the purpose of diagnosis or treatment, the funda-
     mental inquiry to determine whether the statement, despite its dual pur-
     pose, was made in legitimate and reasonable contemplation of medical
     diagnosis or treatment, because if the challenged statement has some
     value in diagnosis or treatment, the patient would still have the requisite
     motive for providing the type of sincere and reliable information that is
     important to that diagnosis and treatment.
17.	 ____: ____. Statements having a dual medical and investigatory pur-
     pose are admissible under the hearsay exception for statements made
     for the purpose of medical diagnosis or treatment only if the proponent
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                             STATE v. CHELOHA
                            Cite as 25 Neb. App. 403
     of the statements demonstrates that (1) the declarant’s purpose in mak-
     ing the statements was to assist in the provision of medical diagnosis or
     treatment and (2) the statements were of a nature reasonably pertinent
     to medical diagnosis or treatment by a medical professional.
18.	 ____: ____. Under the hearsay exception for statements made for the
     purpose of medical diagnosis or treatment, the appropriate state of mind
     of the declarant may be reasonably inferred from the circumstances.
19.	 Criminal Law: Intent: Intoxication. Voluntary intoxication is not a
     defense to any criminal offense and shall not be taken into consideration
     in determining the existence of a mental state that is an element of the
     criminal offense.
20.	 Jury Instructions. Whether jury instructions given by a trial court are
     correct is a question of law.
21.	 Judgments: Appeal and Error. When reviewing questions of law, an
     appellate court resolves the questions independently of the conclusion
     reached by the lower court.
22.	 Jury Instructions: Proof: Appeal and Error. In an appeal based on
     a claim of an erroneous jury instruction, the appellant has the burden
     to show that the questioned instruction was prejudicial or otherwise
     adversely affected a substantial right of the appellant.
23.	 Sexual Assault: Words and Phrases. A person commits third degree
     sexual assault of a child if he or she subjects another person 14 years of
     age or younger to sexual contact and the actor is at least 19 years of age
     or older and does not cause serious personal injury to the victim.
24.	 ____: ____. Sexual contact means the intentional touching of the
     victim’s sexual or intimate parts or the intentional touching of the
     victim’s clothing covering the immediate area of the victim’s sexual or
     intimate parts and includes only such conduct which can be reasonably
     construed as being for the purpose of sexual arousal or gratification of
     either party.
25.	 Sexual Assault: Proof. Whether there is sufficient evidence to prove
     sexual arousal or gratification (which, by necessity, must generally
     be inferred from the surrounding circumstances), is extraordinarily
     fact driven.
26.	 ____: ____. The relevant question in determining whether there is suf-
     ficient evidence to prove sexual arousal or gratification for purposes
     of third degree sexual assault is whether, after viewing the evidence
     in the light most favorable to the prosecution, any rational trier of fact
     could have found the essential elements of the crime beyond a reason-
     able doubt.
27.	 Motions for Mistrial: Appeal and Error. Whether to grant a mistrial is
     within the trial court’s discretion, and an appellate court will not disturb
     its ruling unless the court abused its discretion.
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                             STATE v. CHELOHA
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28.	 Trial: Prosecuting Attorneys. A prosecutor should not express his or
     her personal belief or opinion as to the truth or falsity of any testimony
     or evidence or the guilt of the defendant, and a lawyer shall not, in trial,
     state a personal opinion as to the credibility of a witness or the guilt or
     innocence of an accused.
29.	 ____: ____. When a prosecutor’s comments rest on reasonably drawn
     inferences from the evidence, the prosecutor is permitted to present a
     spirited summation that a defense theory is illogical or unsupported by
     the evidence and to highlight the relative believability of witnesses for
     the State and the defense.
30.	 ____: ____. In cases where the prosecutor comments on the theory of
     defense, the defendant’s veracity, or the defendant’s guilt, the prosecutor
     crosses the line into misconduct only if the prosecutor’s comments are
     expressions of the prosecutor’s personal beliefs rather than a summation
     of the evidence.
31.	 Sentences: Appeal and Error. An appellate court will not disturb a sen-
     tence imposed within the statutory limits absent an abuse of discretion
     by the trial court.
32.	 Sentences. When imposing a sentence, a sentencing judge should con-
     sider the defendant’s (1) age, (2) mentality, (3) education and experi-
     ence, (4) social and cultural background, (5) past criminal record or
     record of law-abiding conduct, and (6) motivation for the offense, as
     well as (7) the nature of the offense, and (8) the amount of violence
     involved in the commission of the crime.
33.	 Sentences: Appeal and Error. Where a sentence imposed within the
     statutory limits is alleged on appeal to be excessive, the appellate court
     must determine whether the sentencing court abused its discretion in
     considering and applying the relevant factors as well as any applicable
     legal principles in determining the sentence to be imposed.

  Appeal from the District Court for Douglas County: W.
M ark Ashford, Judge. Affirmed.

   Thomas C. Riley, Douglas County Public Defender, Thomas
M. Wakeley, and Nicholas Yost, Senior Certified Law Student,
for appellant.

   Douglas J. Peterson, Attorney General, and Austin N. Relph
for appellee.

   Pirtle, R iedmann, and A rterburn, Judges.
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                        STATE v. CHELOHA
                       Cite as 25 Neb. App. 403
  R iedmann, Judge.
                       INTRODUCTION
   Jacob T. Cheloha appeals his convictions in the district
court for Douglas County of two counts of third degree sexual
assault of a child. We find no merit to the arguments raised on
appeal and therefore affirm the convictions and sentences.

                       BACKGROUND
   In May 2015, R.C., then age 12, disclosed to her school
counselor that her uncle, Cheloha, had touched her buttocks
on multiple occasions while she slept. Cheloha was ultimately
charged with two counts of third degree sexual assault of
a child. Following a jury trial, he was found guilty of both
counts and sentenced to 2 to 2 years’ incarceration on count I
and 3 years’ probation on count II. We will provide additional
facts as necessary in our analysis of the assigned errors below.
Cheloha timely appeals his convictions and sentences.

                  ASSIGNMENTS OF ERROR
   Cheloha assigns, renumbered and restated, that the district
court erred in (1) failing to exercise discretion in allowing
the jury access to the video of his police interrogation during
deliberations, (2) denying his motion to suppress, (3) allowing
a sexual assault nurse examiner to testify, (4) submitting a jury
instruction on intoxication, (5) finding sufficient evidence to
sustain the guilty verdicts, (6) failing to find prosecutorial mis-
conduct or granting a mistrial on that basis, and (7) imposing
excessive sentences.

                          ANALYSIS
Allowing Jury Access to Video.
   During deliberations, the jury asked the court for access
to a video recording of the police interrogation of Cheloha,
which had been received into evidence and played during the
trial. After discussing the matter with the parties and over
Cheloha’s objection, the court allowed the jury unrestricted
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                        STATE v. CHELOHA
                       Cite as 25 Neb. App. 403
access to the video. On appeal, Cheloha argues that the district
court erred in doing so, because the trial court failed to exer-
cise its discretion. We find no abuse of discretion in allowing
the jury access to the video during deliberations.
   [1-3] Under Nebraska case law, the trial judge has discretion
to allow the jury to reexamine evidence during deliberations.
State v. Pangborn, 286 Neb. 363, 836 N.W.2d 790 (2013).
Under this rule, trial courts have broad discretion in allowing
the jury to have unlimited access to properly received exhibits
that constitute substantive evidence of the defendant’s guilt. Id.A trial court’s decision to allow a jury during deliberations to
rehear or review evidence, whether such evidence is testimo-
nial or nontestimonial, is reviewed by an appellate court for
an abuse of discretion. State v. Vandever, 287 Neb. 807, 844
N.W.2d 783 (2014).
   [4] In the present case, the district court characterized the
video as substantive, nontestimonial evidence, and we agree.
As explained in State v. Vandever, supra, testimonial evidence
refers to trial evidence, including live oral examinations, affi-
davits and depositions in lieu of live testimony, and tapes of
examinations conducted prior to the time of trial for use at
trial in accordance with procedures provided by law. Here,
although verbal in nature, the recording was not prepared as
or admitted into evidence as a substitute for live testimony
at trial. Therefore, the trial court had broad discretion in
allowing the jury to have unlimited access to the exhibit dur-
ing deliberations.
   Cheloha argues that based upon the comments of the court,
it appears as though the trial judge mistakenly believed the
law required that he allow the jury access to the video. The
court specifically stated that “[the video] is substantive evi-
dence. Therefore, although I — whether I say I agree with you
or not, I feel like I’m controlled by rules of law and I think I
have to allow [the jury] to review it.” In response to a question
from defense counsel as to whether the decision was discre-
tionary, the court further stated:
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                        STATE v. CHELOHA
                       Cite as 25 Neb. App. 403
      I understand. That’s — you may find different rulings
      from different judges, but I consider it to be — my per-
      sonal opinion may be different than what I’m saying on
      the record, but my understanding of the state of the law
      is that [the jury is] allowed to review it, so I’m going to
      permit that.
   While the court may have been mistaken in thinking that it
was required to allow the jury to review the video, we find no
abuse of discretion in its decision allowing the jury to do so. At
oral argument, Cheloha argued that the video in the instant case
was dangerously close to being testimonial and that thus, there
was a risk of the jury impermissibly placing undue emphasis
on the video compared to other evidence. Cheloha also argued
that the present case is distinguishable from State v. Vandever,
supra, because the video here was much longer than the
8-­minute video in Vandever; there was no physical evidence to
corroborate R.C.’s claims like there was in Vandever; the tone
of the conversation here was more akin to an interrogation;
and the jury in the present case was allowed unfettered access
to the video, which allowed it to view the video an unlimited
number of times and closely scrutinize Cheloha’s statements
and body language.
   [5] Heightened standards which require the trial court to
weigh the probative value of the testimony against the danger
of undue emphasis and allow the court to strictly control the
procedures for reviewing tape-recorded evidence apply only to
testimonial evidence, however. See id. And it is undisputed that
the video here was substantive, nontestimonial evidence. Thus,
the court was not required to weigh the danger of the jury plac-
ing undue emphasis on the video before allowing access to it.
   In addition, we find no basis by which to distinguish the
instant case from State v. Vandever, 287 Neb. 807, 844 N.W.2d
783 (2014). We acknowledge the differences Cheloha points
out, but find no abuse of discretion in allowing the jury to
review the video. Trial courts have broad discretion in allow-
ing the jury unlimited access to properly received exhibits that
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                        STATE v. CHELOHA
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constitute substantive evidence. Id. Thus, the fact that the court
allowed the video into the jury room without limitations was
within the court’s discretion. Accordingly, we find no merit to
this assignment of error.
Motion to Suppress.
   Cheloha argues that the district court erred in denying his
motion to suppress statements he made during his recorded
interview, because they were unconstitutionally coerced. We
conclude that this issue has not been preserved for appel-
late review.
   [6-8] Where there has been a pretrial ruling regarding the
admissibility of evidence, a party must make a timely and
specific objection to the evidence when it is offered at trial
in order to preserve any error for appellate review. State v.
Oldson, 293 Neb. 718, 884 N.W.2d 10 (2016). The failure to
object to evidence at trial, even though the evidence was the
subject of a previous motion to suppress, waives the objection,
and a party will not be heard to complain of the alleged error
on appeal. Id. Furthermore, an objection, based on a specific
ground and properly overruled, does not preserve a question
for appellate review on some other ground not specified at
trial. Id.   In the instant case, when the video recording of the inter-
view was offered into evidence, defense counsel did not object
to the evidence on the constitutional grounds raised in the
motion to suppress and did not renew the motion to suppress
at that time; rather, defense counsel instead objected on hear-
say grounds, which the court overruled. Then, at the close of
all evidence, Cheloha renewed his motion to suppress. Thus,
because he failed to timely renew his constitutional objection
at trial, Cheloha waived his assignment of error concerning his
motion to suppress.
Admissibility of Cleaver’s Testimony.
  Cheloha argues that the district court erred in allowing
Sarah Cleaver, a pediatric nurse practitioner who is also trained
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                        STATE v. CHELOHA
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as a sexual assault nurse examiner, to testify at trial about the
statements R.C. made to her. Cheloha claims that Cleaver’s
testimony was hearsay not within the medical diagnosis and
treatment exception. See Neb. Evid. R. 803(3), Neb. Rev. Stat.
§ 27-803(3) (Reissue 2016). We disagree.
   [9,10] Apart from rulings under the residual hearsay excep-
tion, we will review for clear error the factual findings under-
pinning a trial court’s hearsay ruling and review de novo
the court’s ultimate determination whether the court admitted
evidence over a hearsay objection or excluded evidence on
hearsay grounds. State v. Jedlicka, 297 Neb. 276, 900 N.W.2d
454 (2017). Whether a statement was both taken and given in
contemplation of medical diagnosis or treatment is a factual
finding made by the trial court in determining the admissibility
of the evidence under rule 803(3). State v. Jedlicka, supra.   [11,12] Hearsay is a statement, other than one made by the
declarant while testifying at the trial or hearing, offered to
prove the truth of the matter asserted. Neb. Evid. R. 801(3),
Neb. Rev. Stat. § 27-801(3) (Reissue 2016). See, also, State
v. Jedlicka, supra. A declarant’s out-of-court statement offered
for the truth of the matter asserted is inadmissible unless it
falls within a definitional exclusion or statutory exception. See,
Neb. Evid. R. 802, Neb. Rev. Stat. § 27-802 (Reissue 2016);
State v. Jedlicka, supra.   [13,14] Rule 803(3) provides that the hearsay rule does not
exclude statements made for purposes of medical diagnosis
or treatment and describing medical history, or past or pres-
ent symptoms, pain, or sensations, or the inception or general
character of the cause or external source thereof insofar as
reasonably pertinent to diagnosis or treatment. Rule 803(3) is
based on the notion that a person seeking medical attention will
give a truthful account of the history and current status of his
or her condition in order to ensure proper treatment. State v.
Jedlicka, supra.   Cheloha claims that in order to fall within the rule 803(3)
exception to the hearsay rule, the statement must be made for
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the primary purpose of treatment, and not forensic or inves-
tigatory purposes. He asserts that Cleaver’s examination of
R.C. was forensic in nature and for the purpose of gathering
evidence rather than for the purpose of medical treatment. He
notes that the examination was scheduled “with the hope of
[R.C.] disclosing additional [abuse]” and that therefore, the
primary purpose of the examination was for investigatory pur-
poses, making it outside the realm of the rule 803(3) exception.
Brief for appellant at 22.
   [15,16] However, a statement is generally considered admis-
sible under the medical purpose hearsay exception if gathered
for dual medical and investigatory purposes. State v. Vigil,
283 Neb. 129, 810 N.W.2d 687 (2012). Even the declarant’s
knowledge that law enforcement is observing or listening to
the statements does not necessarily preclude admissibility of
a statement as being for a medical purpose. Id. Further, the
predominant purpose of the statement is not the real question
in determining admissibility. Id. The fundamental inquiry is
whether the statement, despite its dual purpose, was made in
legitimate and reasonable contemplation of medical diagnosis
or treatment, because if the challenged statement has some
value in diagnosis or treatment, the patient would still have
the requisite motive for providing the type of sincere and reli-
able information that is important to that diagnosis and treat-
ment. Id.   [17,18] Statements having a dual medical and investigatory
purpose are admissible under rule 803(3) only if the propo-
nent of the statements demonstrates that (1) the declarant’s
purpose in making the statements was to assist in the provi-
sion of medical diagnosis or treatment and (2) the statements
were of a nature reasonably pertinent to medical diagnosis
or treatment by a medical professional. State v. Vigil, supra.
Under rule 803(3), there need not be direct evidence of the
declarant’s state of mind; instead, the appropriate state of
mind of the declarant may be reasonably inferred from the
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surrounding circumstances. State v. Jedlicka, 297 Neb. 276,
900 N.W.2d 454 (2017).
   In the present case, Cleaver is a pediatric nurse practi­
tioner who is also trained as a sexual assault nurse examiner.
R.C. told her grandmother about some symptoms she was
experiencing and about which she was worried. The concerns
were relayed to the Child Protective Services worker, who
requested that Cleaver examine R.C. Cleaver’s examination
of R.C. was conducted 2 days after R.C. disclosed the abuse.
At the outset of the examination, Cleaver explained to R.C.
that she was a nurse practitioner and was going to give R.C.
a checkup to make sure that she was healthy. R.C. voiced
particular symptoms she was experiencing, which Cleaver
testified are important for her to know in order to help guide
the examination and so that she can make a diagnosis and
formulate a treatment plan including any appropriate testing
or medication.
   Over Cheloha’s hearsay objection, Cleaver testified that
R.C. told her she had some intermittent burning with urination
and vaginal discharge. Cleaver explained to R.C. that in order
to do the appropriate testing, she needed to know more about
the sexual abuse. R.C. told her that beginning in the summer
of 2014 and continuing until 4 days prior to the examination,
while she was sleeping, Cheloha would touch her buttocks
with his hand and that most of the time the touching occurred
over her clothes. Cleaver explained that she could conduct a
vaginal examination and/or test for sexually transmitted dis-
eases. R.C. declined the vaginal examination, but Cleaver com-
pleted a general medical examination. Disease testing was also
completed, and the results were negative. Despite Cheloha’s
claim, Cleaver testified that the examination she performed on
R.C. was not a forensic examination.
   Based on the foregoing, we conclude that R.C.’s statements
to Cleaver were made for the purpose of medical diagno-
sis and treatment and that thus, they fall within the medical
exception of the hearsay rule. Accordingly, the trial court did
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not err in allowing Cleaver to testify about R.C.’s statements
regarding the assault.

Jury Instruction on Intoxication.
   Cheloha asserts that the district court erred in instructing the
jury that intoxication is not a defense to the crime charged. He
claims the instruction was erroneous because he was charged
under a crime requiring specific intent, and under common law,
intoxication may be considered to negate the specific intent of
a crime. We find no merit to this argument.
   [19] Whether intoxication is a defense under common law
is irrelevant, because in 2011, the Legislature enacted a statute
that provides that voluntary intoxication is not a defense to any
criminal offense and shall not be taken into consideration in
determining the existence of a mental state that is an element
of the criminal offense. Neb. Rev. Stat. § 29-122 (Reissue
2016) specifically states:
         A person who is intoxicated is criminally responsible
      for his or her conduct. Intoxication is not a defense to
      any criminal offense and shall not be taken into consid-
      eration in determining the existence of a mental state
      that is an element of the criminal offense unless the
      defendant proves, by clear and convincing evidence, that
      he or she did not (1) know that it was an intoxicating
      substance when he or she ingested, inhaled, injected,
      or absorbed the substance causing the intoxication or
      (2) ingest, inhale, inject, or absorb the intoxicating sub-
      stance voluntarily.
The instruction given to the jury in the present case mirrored
the language of § 29-122.
   [20-22] Whether jury instructions given by a trial court are
correct is a question of law. State v. Abejide, 293 Neb. 687,
879 N.W.2d 684 (2016). When reviewing questions of law,
an appellate court resolves the questions independently of the
conclusion reached by the lower court. Id. In an appeal based
on a claim of an erroneous jury instruction, the appellant has
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the burden to show that the questioned instruction was preju-
dicial or otherwise adversely affected a substantial right of
the appellant. State v. Hinrichsen, 292 Neb. 611, 877 N.W.2d
211 (2016).
   Here, it is undisputed that any intoxication on the part
of Cheloha was voluntary. Therefore, under § 29-122, such
intoxication does not negate the intent required to commit
third degree sexual assault of a child. Accordingly, the court
did not err in instructing the jury that intoxication is not
a valid defense. We therefore reject Cheloha’s argument to
the contrary.

Sufficiency of Evidence.
   Cheloha argues that the evidence was insufficient to sustain
the verdicts. We disagree.
   [23,24] The information alleged that Cheloha committed
third degree sexual assault of a child between May 1, 2014,
and May 15, 2015, and again on or about May 16, 2015. A
person commits third degree sexual assault of a child if he
or she subjects another person 14 years of age or younger to
sexual contact and the actor is at least 19 years of age or older
and does not cause serious personal injury to the victim. See
Neb. Rev. Stat. § 28-320.01(1) and (3) (Reissue 2016). Sexual
contact means the intentional touching of the victim’s sexual or
intimate parts or the intentional touching of the victim’s cloth-
ing covering the immediate area of the victim’s sexual or inti-
mate parts. Neb. Rev. Stat. § 28-318(5) (Reissue 2016). Sexual
contact includes “only such conduct which can be reasonably
construed as being for the purpose of sexual arousal or gratifi-
cation of either party.” Id.   Here, the parties’ ages and the lack of injury to R.C. are not
in dispute. R.C. testified that Cheloha intentionally touched
her buttocks, conduct which meets the definition of sexual
contact. The question then becomes whether the evidence was
sufficient to prove that the touching was done for the purpose
of sexual arousal or gratification.
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    [25,26] Whether there is sufficient evidence to prove sexual
arousal or gratification (which, by necessity, must generally
be inferred from the surrounding circumstances) is extraordi-
narily fact driven. State v. Brauer, 287 Neb. 81, 841 N.W.2d
201 (2013). The relevant question is whether, after viewing the
evidence in the light most favorable to the prosecution, any
rational trier of fact could have found the essential elements
of the crime beyond a reasonable doubt. State v. Knutson,
288 Neb. 823, 852 N.W.2d 307 (2014). The Supreme Court
has previously affirmed a conviction for third degree sexual
assault of a child where the assault consisted of one touch over
the clothes, a decision based in large part on our deferential
standard of review. See State v. Brauer, supra.
    The present case consists of more instances of touching
coupled with additional circumstances supporting the jury’s
decision. Here, Cheloha and R.C. lived with the woman who
is both Cheloha’s mother and R.C.’s grandmother. Cheloha is
R.C.’s uncle and was “in charge” when her grandmother was
ill. Cheloha was aware of R.C.’s history of being in foster care
and knew that she had had a “tough” upbringing. The touch-
ing occurred at night while R.C. and her grandmother were
sleeping. R.C. explained that Cheloha would move his hand
around her buttocks and sometimes lightly squeeze. R.C. tes-
tified that during the summer of 2014, Cheloha touched her
inappropriately on more than three occasions. She explained
that the inappropriate touching stopped for a while but started
again in May 2015. On Friday, May 15, 2015, R.C. told her
school counselor what Cheloha was doing to her. The follow-
ing Monday, R.C. again reported Cheloha’s behavior to her
school counselor and explained that Cheloha had touched her
again the previous weekend.
    Cheloha admitted that he sometimes watched pornography
at the house. After Cheloha touched R.C. on or around May
16, 2015, she said he went back to his bedroom where she
observed him watching a video on his cell phone from which
she could hear moaning. A jury could reasonably infer that
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Cheloha was watching a pornographic video. Viewing all of the
facts presented in the present case in the light most favorable
to the prosecution, a rational jury could conclude that an adult
touching and squeezing the private parts of a vulnerable young
girl on multiple occasions and subsequently watching pornog-
raphy was done for the purpose of sexual arousal or gratifica-
tion. Accordingly, we conclude that the evidence was sufficient
to sustain the guilty verdicts.

Prosecutorial Misconduct.
   Cheloha assigns that the district court erred in failing to
find prosecutorial misconduct and failing to grant a mistrial on
that basis. We find no merit to this argument.
   During closing arguments, Cheloha’s counsel questioned
why, after the inappropriate touching had allegedly been ongo-
ing for more than a year, R.C. chose that particular day in
May 2015 to report the abuse to her school counselor. He
observed that R.C. had recently begun spending time with her
biological mother, with whom she had an estranged relation-
ship, and noted that after R.C. reported Cheloha’s actions,
R.C. had been removed from her grandparents’ house and
was living closer to her mother. Thus, he inferred that R.C.
and her mother made up allegations of sexual assault against
Cheloha so that R.C. could be closer to her mother. During the
State’s rebuttal closing argument, the prosecutor responded
to Cheloha’s inference, observing that R.C. had disclosed the
abuse to her grandmother on at least one occasion in 2014
and stating:
      And if mom is the one feeding this to her, don’t you
      think mom’s the one who would have called the police,
      shouting at the rooftops, [m]y daughter’s being molested?
      Don’t you think she’d be in here crying her eyes out
      for all of you to see the show she wants to put on about
      her daughter?
Cheloha objected to the comments and moved for mistrial,
arguing that the State’s reference to R.C.’s mother and why
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she did not testify was improper because the State could have
called her as a witness. The court denied the motion for mis-
trial, finding that even if the comment was improper, it consti-
tuted harmless error.
   [27] Whether to grant a mistrial is within the trial court’s
discretion, and an appellate court will not disturb its ruling
unless the court abused its discretion. State v. Ramirez, 287
Neb. 356, 842 N.W.2d 694 (2014).
   [28-30] A prosecutor should not express his or her personal
belief or opinion as to the truth or falsity of any testimony
or evidence or the guilt of the defendant, and a lawyer shall
not, in trial, state a personal opinion as to the credibility of a
witness or the guilt or innocence of an accused. See State v.
Gonzales, 294 Neb. 627, 884 N.W.2d 102 (2016). But when
a prosecutor’s comments rest on reasonably drawn inferences
from the evidence, the prosecutor is permitted to present a
spirited summation that a defense theory is illogical or unsup-
ported by the evidence and to highlight the relative believ-
ability of witnesses for the State and the defense. Id. Thus, in
cases where the prosecutor comments on the theory of defense,
the defendant’s veracity, or the defendant’s guilt, the prosecu-
tor crosses the line into misconduct only if the prosecutor’s
comments are expressions of the prosecutor’s personal beliefs
rather than a summation of the evidence. Id.   Here, we conclude that the prosecutor was commenting
on the defense’s theory that R.C. and her mother colluded to
falsify the allegations against Cheloha and arguing that the
theory was illogical and not supported by the evidence. The
prosecutor argued to the jury that if R.C.’s mother had par-
ticipated in making up the sexual abuse, there would have
been evidence that she called the police or otherwise reported
the ongoing abuse, and she likely would have testified at trial
regarding R.C.’s disclosures to her, but there was no such evi-
dence. We disagree with Cheloha’s assertion that the prosecu-
tor’s comments focused on why R.C.’s mother did not testify
at trial; rather, the comments focused on the lack of evidence
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supporting the defense’s theory of collusion between R.C. and
her mother. We therefore find that the comments did not con-
stitute misconduct. Accordingly, the district court did not abuse
its discretion in denying Cheloha’s motion for mistrial.

Excessive Sentences.
   Cheloha argues that the sentences imposed by the district
court are excessive. We find no abuse of discretion in the sen-
tences imposed.
   Third degree sexual assault of a child is a Class IIIA felony.
§ 28-320.01. At the time of Cheloha’s offenses, a Class IIIA
felony carried a punishment of up to 5 years’ imprisonment, a
$10,000 fine, or both. Neb. Rev. Stat. § 28-105 (Cum. Supp.
2014). Thus, Cheloha’s sentences of 2 to 2 years’ incarceration
on count I and 3 years’ probation on count II fall within the
statutory limits.
   [31-33] An appellate court will not disturb a sentence
imposed within the statutory limits absent an abuse of discre-
tion by the trial court. State v. Casares, 291 Neb. 150, 864
N.W.2d 667 (2015). When imposing a sentence, a sentencing
judge should consider the defendant’s (1) age, (2) mentality, (3)
education and experience, (4) social and cultural background,
(5) past criminal record or record of law-abiding conduct, and
(6) motivation for the offense, as well as (7) the nature of the
offense, and (8) the amount of violence involved in the com-
mission of the crime. Id. Where a sentence imposed within the
statutory limits is alleged on appeal to be excessive, the appel-
late court must determine whether the sentencing court abused
its discretion in considering and applying the relevant factors
as well as any applicable legal principles in determining the
sentence to be imposed. Id.   At sentencing, the court determined that a period of incar-
ceration was warranted for the benefit of society and in
considering the impact Cheloha’s actions had on R.C. and
the rest of the family. Thus, the court imposed a sentence of
incarceration on count I. Additionally, the court found a period
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of probation was appropriate for count II so that Cheloha
could continue to be monitored and required to abide by cer-
tain conditions.
   As the State recognized at sentencing, Cheloha took advan-
tage of his young, vulnerable niece, for whom he was a paren-
tal figure, over a long period of time. R.C.’s mother stated at
sentencing that as a result of the abuse, R.C. now “cring[es]
whenever someone gives her a hug or kiss on the cheek” and
she will be “in therapy for . . . years” to address her trauma.
Based on the record before us, we cannot find that the sen-
tences imposed constitute an abuse of discretion.

                        CONCLUSION
   We find no merit to the errors Cheloha raised on appeal. We
therefore affirm his convictions and sentences.
                                                    A ffirmed.
